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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
RODNEY LAIL, et al.                  )
                                     )
            Plaintiffs,              )
                                     )   Civil Action No. 10-0210(PLF)
      v.                             )   (ECF)
                                     )
UNITED STATES GOVERNMENT, et al.)
                                    )
            Defendants.             )
____________________________________)

  FEDERAL DEFENDANTS’ MOTION TO ENLARGE TIME TO FILE AN ANSWER
         OR OTHERWISE RESPOND TO PLAINTIFFS’ COMPLAINT

       Pursuant to Fed. R. Civ. P. 6(b)(1), the United States of America, the Federal Bureau of

Investigation and its employees, Paul Gardner, David M. Hardy, Kerry Haynes, Noel Herold,

Thomas Isabella, Jr., Michael Kirkpatrick, Thomas Marsh, Monte Dell McKee, George Skaluba,

Chris Swecker, Matt Perry, N. John Benson, and Phil Celestini, in their official and individual

capacities (“Federal Defendants”), respectfully request an enlargement of time to and including

January 14, 2010, to file an answer or otherwise respond to Plaintiff’s complaint. Good cause

exists to grant this motion.

       1.      Plaintiffs filed their pro se complaint on or about February 5, 2010, alleging

statutory and constitutional claims against Federal Defendants.

       2.      Federal Defendants respectfully request this additional time due to the press of

business and the holiday season.

       3.      Specifically, the undersigned recently completed a trial in a Title VII case, Perry

v. Donovan, 07-1010 (RCL) and has been consumed with post trial matters and other cases that

were displaced by said trial.
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       4.      The undersigned also respectfully requests this additional time to confer with

Agency Counsel.

       5.      Pursuant to LCvR 7(m), the undersigned spoke with Plaintiff Spencer who

consents to this request on behalf of himself and the other Plaintiffs. Plaintiff Spencer represents

that he is authorized to consent on behalf of all Plaintiffs.

       WHEREFORE, Federal Defendants respectfully request that this enlargement be granted.

A minute order is respectfully requested.

December 17, 2010                              Respectfully submitted,


                                               RONALD C. MACHEN JR, D.C. BAR # 447889
                                               United States Attorney
                                               for the District of Columbia


                                               RUDOLPH CONTRERAS, D.C. BAR # 434122
                                               Chief, Civil Division

                                               By:       /s/
                                               KENNETH ADEBONOJO
                                               Assistant United States Attorney
                                               Judiciary Center Building
                                               555 4th Street, N.W. – Civil Division
                                               Washington, D.C. 20530
                                               (202) 514-7157




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                                 CERTIFICATE OF SERVICE

       I certify that on this 17th day of December 2010, I caused the foregoing Federal

Defendants’ Motion to Enlarge Time to File Answer or Otherwise Respond to Complaint to be

served on Plaintiff via first-class mail postage prepaid to:

Rodney Lail
P.O. Box 2753
Myrtle, Beach, SC 29578

James B. Spencer, aka Robert B. Holt
P.O. Box 183
7001 Saint Andrews Road
Columbia, SC 29212

                                                     /s/
                                              KENNETH ADEBONOJO
                                              Assistant United States Attorney
